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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

BRENDA SMITH,

             Plaintiff,                               Case No. 20-cv-10790
                                                      Hon. Matthew F. Leitman
v.

C.R. BARD, INC., et al.,

          Defendants.
__________________________________________________________________/

                                       ORDER

      Having read and considered Parties’ STATUS REPORT AND JOINT

MOTION TO EXTEND STAY, and for other good cause shown, IT IS HEREBY

ORDERED that the Parties’ Motion is GRANTED, and discovery and all pretrial

deadlines are hereby stayed for ninety (90) days after entry of this Order pending

Plaintiff’s dismissal. If Plaintiff has not filed dismissal papers within ninety (90)

days from the stay being granted, the parties shall file a joint status report regarding

the status of the settlement.

      IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: January 12, 2021
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Respectfully submitted, this 11th day of January, 2021.

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